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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF NEW JERSEY



DR. REDDY’S LABORATORIES INC.,             Civil Action No. 21-10309
                                           (ZNQ)(LHG)
                             Plaintiff,
                                           Filed Under Seal
                 -against-
                                           ORAL ARGUMENT
AMARIN PHARMA, INC., AMARIN                REQUESTED
PHARMACEUTICALS IRELAND
LIMITED,                                   Motion Day: December 20
and AMARIN CORPORATION PLC,
                                           (Filed Electronically)
                             Defendants.




PLAINTIFF’S BRIEF IN OPPOSITION TO DEFENDANTS’ MOTION FOR
        SANCTIONS AND REQUEST FOR FEES AND COSTS
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                               INTRODUCTION

      Amarin’s Rule 11 motion is improper, dishonest, and therefore sanctionable

in its own right. Amarin’s characterizations of the Complaint’s allegations—

“anonymous,” “un-vetted,” “baseless,” “unreasonable”—are demonstrably false,

and its arguments are Orwellian (for example: the word “or” does not mean “or”).

Dr. Reddy’s Laboratories Inc. (“DRL”) therefore respectfully requests the Court to

order Amarin to pay costs and fees for responding to a frivolous motion, in

addition to denying Amarin’s motion.1

      Amarin’s letters to DRL before and shortly after DRL filed its Complaint

were apparently intended to intimidate. And this Rule 11 motion, strategically

filed concurrently with Amarin’s motion to dismiss, seeks to sway the Court’s

view of the motion to dismiss by disputing DRL’s factual allegations through facts

outside of the Complaint and with sworn testimony (i.e., the Declaration of John

Thero (“Thero Decl.”)). Both of those purposes are impermissible. See Gaiardo v.

Ethyl Corp., 835 F.2d 479, 485 (3d Cir. 1987) (“A court may impose sanctions on

its own initiative when the Rule is invoked for improper purpose” such as


1
  A “party defending a Rule 11 motion need not comply with the separate
document and safe harbor provision when counter-requesting sanctions.” Patelco
Credit Union v. Sahni 262 F.3d 897, 913 (9th Cir. 2001); see also Flanagan v.
Shively, 783 F. Supp. 922, 927, 927 n.4 (M.D. Pa. 1992) (granting defendants’
counter-motion for sanctions when “Defendants did not file a separate motion for
sanctions but incorporated their request for sanctions in their brief opposing
plaintiff’s motion for Rule 11 sanctions”).
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“intimidation”); StrikeForce Techs., Inc. v. WhiteSky, Inc., No. 13-1895 (SRC),

2013 U.S. Dist. LEXIS 145755, at *8 (D.N.J. Oct. 9, 2013) (Rule 11 is not for

settling “factual . . . dispute[s]”). Amarin would like the Court to accept its

interpretation of the facts as dispositive, but the allegations in DRL’s Complaint

were objectively reasonable.

                                BACKGROUND

      DRL filed this case on April 27, 2021, about eight weeks after Amarin’s first

scare-tactic letter. See Defendants’ Brief in Support of Mot. for Sanctions (“Mot.”)

at 2–3. Two months after DRL filed this case, Amarin sent notice of its intent to

file a Rule 11 motion to DRL. Id. at 3. Amarin’s notice and accompanying

attachments denied certain allegations, purported to offer exculpatory evidence,

and accused DRL of sanctionable misconduct. (The present motion omits much of

what Amarin wrote in the June draft motion.) DRL responded that Amarin ignored

numerous facts explained in the Complaint. See Declaration of William Baton

(“Baton Decl.”) Ex. 5. Nonetheless, Amarin filed the pending motion on October

1, 2021. DRL served discovery requests on Amarin on May 25, but Amarin has

not responded. See Declaration of Seth Silber (“Silber Decl.”) Ex. 2.

      DRL’s Complaint alleges that Amarin has monopoly power in the markets

for icosapent ethyl active pharmaceutical ingredient (“API”) and icosapent ethyl

drugs, and that it entered into exclusive or de facto exclusive agreements with the


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leading suppliers of icosapent ethyl API. See Compl. ¶¶ 57–75. Amarin’s motion

to dismiss does not contest these facts. Those exclusive agreements foreclosed and

continue to foreclose nearly all of the supply of icosapent ethyl API, even if

Amarin does not purchase it. See id. ¶¶ 61, 82. No matter how much icosapent

ethyl API Amarin purchased, its exclusive agreements barred suppliers from

selling to DRL. Id. ¶ 81. As a result, Amarin’s conduct caused anticompetitive

harm by delaying DRL’s launch of its icosapent ethyl drug to compete against

Amarin’s branded version, called Vascepa. See id. ¶¶ 102–07.

      DRL further alleges that Amarin’s exclusive and de facto exclusive

agreements are unnecessary because there is no evidence of supply constraints and

evidence in the public record indicates that Amarin had sufficient or excess API

supply. See id. ¶¶ 76–78. Amarin boasted to investors regarding its exclusive

relationships with API suppliers, making clear that it has long intended to foreclose

competition. For example, in 2015 Amarin explained that certain suppliers would

not “be free to sell [API] to potential competitors” even “[i]f we do not meet the

respective minimum purchase obligations in our supply agreements[.]” Id. ¶ 54.

Denying API “from [its] suppliers to [its] potential competitors” is one of

Amarin’s stated “means to protect” Vascepa. Id.




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                               LEGAL STANDARD

      Under Rule 11, “[s]anctions are to be applied only in the exceptional

circumstance where a claim or motion is patently unmeritorious or frivolous.”

Ario v. Underwriting Members of Syndicate 53 at Lloyds, 618 F.3d 277, 297 (3d

Cir. 2010) (citation and internal quotation marks omitted).         “In determining

whether a party or attorney has violated the duties of Rule 11, the Court must apply

an objective standard of reasonableness under the circumstances.” StrikeForce,

2013 U.S. Dist. LEXIS 145755, at *8 (citing Mary Ann Pensiero, Inc. v. Lingle,

847 F.2d 90, 92 (3d Cir. 1988)). An inquiry before the complaint is filed “is

considered reasonable under the circumstances if it provides the party with an

objective knowledge or belief at the time of the filing of a challenged paper that the

claim was well-grounded in law and fact.” Id. at *9 (quoting Bensalem Twp. v.

Int'l Surplus Lines Ins. Co., 38 F.3d 1303, 1314 (3d Cir. 1994)) (internal quotation

marks omitted). Further, Rule 11 “is not an appropriate vehicle for resolving legal

or factual disputes.” Id. at *11–12 (citing Mary Ann Pensiero, 847 F.2d at 95).

For example, “when issues are close, the invocation of Rule 11 borders on the

abusive.” Gaiardo, 835 F.2d at 483.

      Given the high standard to win a Rule 11 motion, courts in the Third Circuit

routinely deny Rule 11 motions. See e.g., Moeck v. Pleasant Valley Sch. Dist., 844

F.3d 387, 391 (3d Cir. 2016); Murphy v. EISAI, Inc., No. 19-17552 (KM) (JBC),


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2021 U.S. Dist. LEXIS 72132 (D.N.J. Apr. 9, 2021); Sloatman v. Triad Media

Sols., Inc., No. 17-cv-11383 (KM), 2018 U.S. Dist. LEXIS 150005, at *8 (D.N.J.

Sept. 4, 2018).

      Here, DRL is not just entitled to denial of the Rule 11 motion—the Court

should impose sanctions against Amarin for wasting everyone’s time by filing it in

the first place. The Third Circuit has noted that district courts may mete out

“retribution” and “may impose sanctions” upon a party that improperly invokes

Rule 11:

           The use of Rule 11 as an additional tactic of intimidation and
           harassment has become part of the so-called “hardball” litigation
           techniques espoused by some firms and their clients. Those
           practitioners are cautioned that they invite retribution from courts
           which are far from enchanted with such abusive conduct. A court
           may impose sanctions on its own initiative when the Rule is
           invoked for improper purpose.

Gaiardo, 835 F.2d at 485 (citation omitted). The plain language of the Rule

contemplates this when it says that courts may award expenses and fees “to the

prevailing party.” Fed. R. Civ. P. 11(c)(2).2 Courts in this Circuit do not hesitate

to impose sanctions, including awarding the non-movants’ costs associated with

responding to the motion, against the filers of improper Rule 11 motions. See

2
  See also Fed. R. Civ. P. 11 Advisory Committee’s Note to 1993 Amendments
(“[T]he filing of a motion for sanctions is itself subject to the requirements of the
rule and can lead to sanctions. However, service of a cross motion under Rule 11
should rarely be needed since . . . the court may award to the person who prevails
on a motion under Rule 11—whether the movant or the target of the motion—
reasonable expenses, including attorney’s fees[.]”) (emphasis added).
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Barley v. Fox Chase Cancer Ctr., 54 F. Supp. 3d 396, 408 (E.D. Pa. 2014);

Wartsila NSD N. Am., Inc. v. Hill Int'l, Inc., 315 F. Supp. 2d 623, 630 (D.N.J.

2004); Fisher Bros. v. Cambridge-Lee Indus., Inc., 585 F. Supp. 69, 72 (E.D. Pa.

1983).

                                  ARGUMENT

      Amarin disputes DRL’s basis for two allegations. Amarin challenges DRL’s

allegations that (i) “Amarin’s public statements in December 2018 confirmed that

it had enough API supply for at least two years, which was worth $1 billion in

Vascepa sales,” Mot. at 6 (quoting Compl. ¶ 77), and (ii) Amarin “entered into the

de facto exclusive agreement with

                        , id. at 8 (quoting Compl. ¶ 6). Amarin wrongly disputes

the basis of these allegations because (i) its alleged December 2018 public

statements were reported in an objectively credible publication and bolstered by

other facts detailed in the Complaint; and (ii) its SEC filings indicate that its

contract                                       .

      Moreover, Amarin knows that its Rule 11 motion is baseless, but persisted in

filing it in order to intimidate and harass DRL. Amarin chose not to bring a Rule

11 motion against the indirect purchaser plaintiffs (“IPPs”), even though “[t]he

IPPs’ Complaint essentially copies the federal antitrust allegations of the complaint

submitted by Dr. Reddy’s Laboratories Inc.” Defendants’ Brief in Support of Mot.


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to Dismiss (“Mot. to Dismiss”) at 1. Additionally, comparing Amarin’s draft Rule

11 motion, sent to DRL on June 24, 2021, and the filed motion reveals that Amarin

recognized that its motion contained frivolous arguments that it cut from the

present motion.

    I.   DRL’s Allegation that Amarin Had Sufficient or Excess Supply Is
         Objectively Reasonable.

         DRL’s allegation that Amarin had sufficient or excess API supply is

reasonable and based on reliable public information. Moreover, Amarin’s brief

ignores the actual language of DRL’s allegation, and therefore fails to refute the

allegation.

         A.    The Smartkarma Article Is More than Reasonable to Rely Upon.

         Amarin challenges the sufficiency of a December 2018 article published by

Smartkarma, an independent investor research network, that reported Amarin’s

public comments at a 2018 medical conference.3 Mot. at 6–8. DRL relies, in part,

on that article for its allegation that Amarin had sufficient or excess API supply

such that there was no procompetitive purpose to block DRL from acquiring API.

See Compl. ¶ 77. Amarin argues that DRL “could not reasonably rely on” the

article and, either way, that DRL “intentionally mischaracterized it” by referring to

“Amarin’s public statements” instead of the article itself. Mot. at 7–8. The


3
 SC Capital, SMARTKARMA, Nippon Suisan (1332)—Stalled EPA Sales to Amarin
(Dec. 3, 2018), https://tinyurl.com/4d56tync.
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absurdity of Amarin’s argument, which is demonstrably false, reflects why DRL

should be awarded costs and fees.

      First, Smartkarma is an objectively reasonable resource on which to rely

when conducting due diligence for filing a complaint. The Wall Street Journal and

Fortune Magazine frequently quote Smartkarma articles.4 Smartkarma has been

the subject of a Harvard Business Review case study.5 Amarin claims that the

author of the article, SC Capital, is “anonymous,” Mot. at 6, but in fact SC Capital

is an investment firm quoted in reputable news articles for its insights. A week

before Smartkarma published the SC Capital article that Amarin derides as

unreliable to the point of being sanctionable, CNN quoted a November 2018

Smartkarma article by SC Capital.6 Simple online browsing reveals all of these



4
  See, e.g., Elaine Yu and Jing Yang, Blackstone Drops $3 Billion Property Deal
with Chinese Power Couple, WSJ (Sept. 13, 2021), https://tinyurl.com/feu4se;
Stephen Wilmot, How Green Was My Tesla – and How Cheap?, WSJ (June 18,
2021), https://tinyurl.com/2tsk3kt7; Stephen Wilmot, Apple Won’t Struggle to Find
Co-Driver on Car Project, WSJ (Feb. 9, 2021), https://tinyurl.com/f443dvft;
Emaon Barrett and Yvonne Lau, Not just Didi: China’s Internet watchdog targets
more U.S.-listed firms for ‘national security’ review, FORTUNE (July 5, 2021),
https://tinyurl.com/ayr45k6x.
5
  See Harvard Business Review Store, Smartkarma: Market Opportunity in
Investment Research (Apr. 1, 2019), https://tinyurl.com/8zv3mvtp (last visited Oct.
26, 2021).
6
  See Daniel Shane, CNN, The emperor dethroned: Carlos Ghosn’s stunning fall
from the top of the auto industry (Nov. 26, 2018), https://tinyurl.com/3axxrruy
(quoting the “analysts at investment firm SC Capital”). For SC Capital’s
referenced article, see SC Capital, Smartkarma, Nissan Motor--Risks to the
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facts and, thus, that Amarin failed its duty to investigate its allegations. This

failure to investigate is itself sanctionable.

       Second, DRL cited the article accurately.     Amarin contends that DRL

“intentionally mischaracterized” the article by referring to “Amarin’s public

statements” instead of “the anonymous author.” Mot. at 7–8. The article is a

report of Amarin’s public statements at an American Heart Association conference.

Amarin publicly touted its participation in that conference.7 The article is clear:

“Amarin says that it has” sufficient API “supply for at least two years,” for

“Vascepa sales worth $1 billion.” That is also what the Complaint says. See Mot.

at 7–8 (quoting Compl. ¶ 77).

       Amarin’s motion has clearly wasted the Court’s and DRL’s time and

resources. Even if the article misquoted Amarin’s conference presentation, that is

a question for discovery, but there was nothing objectively unreasonable about

DRL’s reliance on it. See StrikeForce, 2013 U.S. Dist. LEXIS 145755, at *11

(finding that the plaintiff’s allegations were objectively reasonable because the

defendant’s “disagreement regarding the facts and law [] do not establish that

StrikeForce filed a pleading it knew, or upon reasonable investigation should have


Alliance if Ghosn Returns to Renault as Chairman (Nov. 21, 2018),
https://tinyurl.com/e6bbsnyx.
7
 Press Release, Amarin Schedules Webcast Discussion of Primary REDUCE-ITTM
Trial Results Following Presentation at 2018 Scientific Sessions of American
Heart Association, Amarin (Oct. 26, 2018), https://tinyurl.com/tt3wm9cw.
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known contained groundless or frivolous claims”); Fisher Bros., 585 F. Supp. at 71

(“[R]ule [11] is not a discovery device. It is not to be used to require plaintiff to

offer proof of his case . . . before discovery and before trial.”) (alterations in

original).

      B.      DRL Has Multiple Sources to Bolster Its Allegation of Sufficient
              or Excess Supply.

      Moreover, DRL’s allegation that Amarin had sufficient or excess API supply

is not based solely on the Smartkarma article. The fact that DRL has other

(uncontested) sources to support that allegation defeats Amarin’s Rule 11 motion.

See Microcapital Fund LP v. Conn’s Inc., No. 4:18-cv-1020, 2019 U.S. Dist.

LEXIS 127748, at *34 n.28 (S.D. Tex. July 24, 2019) (finding plaintiffs did not

violate Rule 11 because, even if one source for the complaint’s allegations was not

reliable, the “complaint [was] based on various sources”).

      DRL’s allegation that Amarin had sufficient or excess API supply is based

primarily on the number of major API suppliers with which Amarin entered into

exclusive contracts and their public statements about their respective production

capacities.   For example, Novasep says that it is capable of “[l]arge-scale

productions from 100’s to 1000’s tons,” and BASF calls itself a “world leader in

high-concentrate omega-3 fatty acids for pharmaceuticals.” Compl. ¶ 58. These

are strong indications that major suppliers have plenty of capacity to satisfy the

industry’s need for icosapent ethyl API, not just Amarin’s. Amarin has repeated

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over the years that it has exclusive supply agreements. See Compl. ¶¶ 54 (2015),

57 (2012), 59 (2013 and 2017). And it has publicly confirmed that there are

reasons other than supply constraints that its suppliers refuse to sell API to DRL

and others. See id. ¶ 56 (in 2020 there were “various reasons” that Amarin’s

suppliers “turned down” requests from generic competitors).

      The cases that Amarin relies on are inapplicable. In In re AOL Repurchase

Offer Litigation, the entire claim was based on a single article, which happened to

contradict the complaint.     No. 12 Civ. 3497 (DLC), 2013 U.S. Dist. LEXIS

171776, at *2–5, 10 (S.D.N.Y. Dec. 5, 2013). In that case, the Rule 11 motion

pointed to contradictory allegations and the plaintiff “largely ignore[d] the core

issues” in its opposition. Id. at *7–10. Here, there is no accusation of internal

inconsistency, DRL’s allegation about Amarin’s API supply reserves has multiple

substantiating sources, and DRL is responding to all of Amarin’s slim Rule 11

motion.

      Walker v. S.W.I.F.T. SCRL, is also inapplicable. 517 F. Supp. 2d 801, 806–

07 (E.D. Va. 2007).        Under Walker, “[r]eliance on anonymous sources is

particularly troublesome under Rule 11 because unless the source is later

identified, there is no way to verify the reliability of the information.” Id.; Br. at 7.

Moreover, in Walker, the anonymous article that itself was riddled with

contradictions. 517 F. Supp. 2d at 807. As DRL has shown, the Smartkarma


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article is not anonymous and does not contradict itself.           Therefore, Amarin’s

argument must fail.

      C.     Amarin’s Linguistic Games Are a Ruse.

      Contrary to Amarin’s framing, whether Amarin purchased excess supply is

not “the core” or the “central” allegation in this case. Mot. at 1, 5–9. Amarin

refers repeatedly to the “excess supply allegations,” (id. at 1, 3, 5, 7, 8), but there is

no such thing in the Complaint. It is not “core” or “central” because it is not there

in the first place. Rather, DRL actually alleges that Amarin had “sufficient or

excess” API supply. Compl. ¶¶ 6, 115, 130, 145, 173, 179. Ordinarily this would

go without saying, but “sufficient” and “excess” do not mean the same thing, and

the word “or” indicates DRL’s recognition that discovery might reveal that Amarin

did not always have an over-abundance of API. Amarin mentions the “sufficient

or” language. See Mot. at 3. But it contends, without explanation, that those

words fail to “qualif[y]” the so-called “excess supply allegations.” Id. In short,

Amarin’s argument is that “or” does not mean “or.”              The plain meaning of

“sufficient or excess” is that one of those two adjectives might not apply.

      The “core” and “central” allegation in this case is that Amarin has agreed to

pay suppliers to not sell to DRL. Compl. ¶¶ 5–6, 59, 69, 81. That is why Amarin’s

repeated use of the word “purchase” in its motion is so misleading. Mot. at 1, 2, 3,

5, 7. Amarin repeatedly argues that it needs and uses all of the icosapent ethyl API


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that it “purchased.” Id. That may be, but it is not what this litigation is about.

This case is about all the excess API capacity that nobody can purchase, and the

fact that nobody can purchase it because Amarin prevents suppliers from selling it

to generic competitors. The Complaint states that Amarin is a monopolist that has

entered into multiple exclusive contracts. Compl. ¶¶ 57–59. These exclusive

contracts are anticompetitive and therefore unlawful. The exclusivity means that

there appears to be excess capacity going unused.        Even if Amarin in fact

“purchased” only the amount of API that it needs, Amarin locked up excess supply

for no other purpose than to block the generic competitors knocking at the door.

Amarin’s brief says that it is buying all of the API that suppliers are capable of

producing. Mot. at 7. But that conflicts with what it told investors in 2020, when

it announced that there are “various reasons” that its suppliers decline to sell to

DRL, not just “that they don’t have excess capacity.” Compl. ¶ 56 (quoting Q1

2020 quarterly earnings call).

 II.   DRL’s Statement that Amarin Reached its Agreement
             Was Objectively Reasonable.

       Amarin’s motion disputes DRL’s characterization of the timing of Amarin’s

agreement                     . Mot. at 8; Thero Decl. ¶ 9. Amarin claims that it

entered into this agreement         , contrary to DRL’s allegation that Amarin and

              reached the agreement sometime

             , when the FDA approved DRL’s abbreviated new drug application).

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Mot. at 8 (quoting Compl. ¶ 6). DRL’s allegation is supported by public records

and therefore is objectively reasonable: An Amarin SEC filing from

states for the first time that                                                   .8

(Amarin’s 2018 and 2019 SEC filings do not identify                as a supplier.9)

As the Complaint explains,              told DRL in 2020 that it had committed all

of its icosapent ethyl API to Amarin for the following three years. Compl. ¶¶ 73–

74.

      Moreover, the difference in timing is inconsequential in a Rule 11 motion.

See Fed. R. Civ. P. 11, Advisory Committee’s Note to 1993 Amendments (“Rule

11 motions should not be made or threatened for minor, inconsequential violations

of the standards.”). Such a minor detail is incapable of rendering the Complaint

“patently unmeritorious,” and further reflects Amarin’s intent to waste the Court’s

time. See Moeck v. Pleasant Valley Sch. Dist., 844 F.3d 387, 391 n.8 (3d Cir.

2016) (finding that pleadings were not patently unmeritorious or frivolous where

“many of the alleged falsehoods Defendants rel[ied] upon [we]re immaterial”).




8
  Amarin Corp. plc, Annual Report (Form 10-K/A), at 17 (Apr. 29, 2020),
http://tinyurl.com/jad79ndh.
9
  See, e.g., Amarin Corp. plc, Annual Report (Form 10-K) (Feb. 27, 2018),
https://tinyurl.com/74xx7vut; Amarin Corp. plc, Annual Report (Form 10-K) (Feb.
27, 2019), https://tinyurl.com/nrvtzvet; Amarin Corp. plc, Annual Report (Form
10-K) (Feb. 25, 2020), https://tinyurl.com/msbzp57k.
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       Even if Amarin entered into the agreement                            , that

does not affect DRL’s points that (i) Amarin’s de facto exclusive agreement

              was contrary to industry practice, see Compl. ¶¶ 36, 76, and (ii)

Amarin already had sufficient or excess supply from its existing supply agreements

with the four leading API suppliers                                           that

ultimately locked DRL from the marketplace, see id. ¶¶ 77–78.

III.   Amarin’s Rule 11 Motion Is Baseless and Sanctionable.

       A.    Amarin’s Actions Reveal That Its Intent Is to Intimidate and
             Harass.

       Amarin’s motion abuses Rule 11 for “intimidation and harassment.”

Gaiardo, 835 F. Supp. 2d at 485. It knows that its motion is baseless and it

threatened DRL with this motion (and tortious interference counterclaims), see

Baton Decl. Ex. 2, to intimidate DRL into dropping its claims.

       Amarin notes that “[t]he IPPs’ Complaint essentially copies the federal

antitrust allegations of the complaint submitted by Dr. Reddy’s Laboratories Inc.”

Mot. to Dismiss at 1. Yet Amarin did not move for sanctions against the IPPs.

The explanation is simple: Amarin is harassing DRL, its competitor and the party

that brought its misconduct to light.

       Two months after DRL filed this case, Amarin threatened this motion in

June, at which time it sent a draft motion. See Silber Decl. Ex. 1. That draft

motion contains multiple arguments that Amarin omitted from its actual motion.

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For example, the draft motion argues that DRL made false allegations about the

size of the icosapent ethyl drug market. See id. at 8. According to the draft

motion, the Complaint “inexcusabl[y]” neglected to contemplate foreign sales of

icosapent ethyl drugs, rendering one of DRL’s allegations “meaningless.” Id. at 9–

10. The filed motion dropped this argument. If it were true that DRL’s allegations

were “inexcusable” and “meaningless,” then surely the actual Rule 11 motion

would have informed the Court. In actuality, Amarin’s bluster reveals its intent to

intimidate and harass DRL.

      B.    Amarin’s Rule 11 Motion Is a Sanctionable Misuse of the Court’s
            Processes.

      Sanctions against movants are appropriate “where a party’s motion for Rule

11 sanctions is not well grounded in fact[.]” Safe-Strap Co., Inc. v. Koala Corp.,

270 F. Supp. 2d 407, 421 (S.D.N.Y. 2003).         As explained above, Amarin’s

arguments are “not well grounded in fact.” See id. Instead, Amarin’s motion sets

forth statements that are “untenable, misplaced, [and] inappropriate for a Rule 11

motion.” See Wartsila, 315 F. Supp. 2d at 630.

      Additionally, Amarin’s Rule 11 motion arguments, including the supporting

case law, are nearly identical to the arguments in its motion to dismiss brief.

Compare Mot. at 6–8, with Mot. to Dismiss at 16. Amarin’s copied and pasted

Rule 11 motion warrants taxing Amarin with costs for wasting the Court’s time.

“Where the motion for sanctions merely repeats the substance of another motion

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on the docket, clearly creating unnecessary and pointless litigation, courts have

awarded the prevailing party its costs.” In re Johns-Manville Corp., No. 82 B

11656, 2016 Bankr. LEXIS 4595, at *38 (Bankr. S.D.N.Y. Mar. 23, 2016) (citing

Wartsila, 315 F. Supp. 2d at 630).

      Amarin’s motivations are clear: to inappropriately present evidence to the

Court in support of Amarin’s motion to dismiss and to intimidate and harass DRL.

Mr. Thero’s declaration, attached to Amarin’s Rule 11 motion, attempts to bring

before this Court arguments about Amarin’s global needs for API supply. Thero

Decl. ¶¶ 6–7. This is an improper effort to bolster Amarin’s motion to dismiss by

dragging in information from outside of the Complaint. See Wartsila, 315 F. Supp.

2d at 628 (“Even if a Rule 11 motion is ultimately denied, the moving party may

be effectively rewarded if the motion is allowed to lead the Court into a searching

evaluation of the merits of a case.”).

      Like its other monopolistic conduct to prevent DRL from entering the

marketplace to invigorate competition, Amarin threatened DRL with a Rule 11

motion should DRL proceed with this lawsuit, declaring that DRL should take

Amarin at its word that it needed all of the API supply. See Baton Decl. Ex. 2.

Now Amarin continues its bullying tactics with this frivolous Rule 11 motion.

Amarin’s misuse of the Court’s time through this Rule 11 motion demonstrates the




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kind of “improper purpose” that courts in this Circuit have found sanctionable. See

Gaiardo, 835 F.2d at 485; see also Wartsila, 315 F. Supp. 2d at 630.

                                 CONCLUSION

      For the foregoing reasons, the Court should deny Amarin’s Rule 11 motion

and award DRL the costs and fees associated with responding to this motion to

deter further abuse of the Court’s processes.



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